              Case 2:20-cr-00140-RAJ Document 51 Filed 12/07/21 Page 1 of 2




 1                                                                          Judge Richard A. Jones
 2
 3
 4
 5
 6
 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
 9
10
     UNITED STATES OF AMERICA,                       No. CR20-140 RAJ
11                                                   ORDER GRANTING
                                 Plaintiff,
12                                                   STIPULATED MOTION
                         v.                          TO CONTINUE TRIAL DATE
13                                                   AND PRETRIAL MOTIONS
     RICARDO GUTIERREZ-SUAREZ,                       DEADLINE
14
                                 Defendant.
15
16
17         This matter having come before the Court on the parties’ stipulated motion for a

18 continuance of the trial date and the pretrial motions deadline, and the Court having
19 considered the facts set forth in the motion and the records and files herein, as well as the
20 General Orders of this Court, the Court finds as follows:
21       The Court finds that the ends of justice will be served by ordering a continuance in

22 this case, that a continuance is necessary to ensure adequate time for effective case
23 preparation, and that these factors outweigh the best interests of the public and defendant in
24 a speedy trial.
25        1.      A failure to grant the continuance would deny defense counsel the reasonable

26 time necessary for effective preparation, taking into account the exercise of due diligence,
27 within the meaning of 18 U.S.C. § 3161(h)(7)(B)(iv). In addition, the failure to grant a
28

     ORDER GRANTING STIPULATED MOTION TO CONTINUE – 1                      UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Gutierrez-Suarez, CR20-140 RAJ
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
                Case 2:20-cr-00140-RAJ Document 51 Filed 12/07/21 Page 2 of 2




 1 continuance in the proceeding would likely result in a miscarriage of justice, within the
 2 meaning of 18 U.S.C. § 3161(h)(7)(B)(i).
 3         2.      The ends of justice will be served by ordering a continuance in this case, as a
 4 continuance is necessary to ensure adequate time for the defense to review discovery and
 5 effectively prepare for trial. All these factors outweigh the best interests of the public and
 6 defendant in a more speedy trial, within the meaning of 18 U.S.C. § 3161(h)(7).
 7         IT IS THEREFORE ORDERED that the motion (Dkt. # 46) is GRANTED. The
 8 trial date is continued from January 24, 2022, to April 4, 2022.
 9         IT IS FURTHER ORDERED that all pretrial motions, including motions in limine,
10 shall be filed no later than February 24, 2022.
11         IT IS FURTHER ORDERED that the resulting period of delay from the date of this
12 order to the new trial date of April 4, 2022, is hereby excluded for speedy trial purposes
13 under 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv).
14
15         DATED this 7th day of December, 2021.
16
17
18
19
                                                      A
                                                      The Honorable Richard A. Jones
20                                                    United States District Judge

21
22
23
24
25
26
27
28

     ORDER GRANTING STIPULATED MOTION TO CONTINUE – 2                      UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Gutierrez-Suarez, CR20-140 RAJ
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
